        Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 1 of 99 PageID #: 228

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



                PARISH OF CAMERON               )
                          Plaintiff             )
                           v.                   ) Civil Action No. 2:16−CV−00536−PM−KK
                                                ) Judge Patricia Minaldi
                    BEPCO L P , ET AL           )
                        Defendant               )
                                     SUMMONS IN A CIVIL ACTION

To:
Anadarko E &P Onshore L L C




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:    5/3/2016                                                                  /s/ − Tony R. Moore
        Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 2 of 99 PageID #: 229

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Anadarko E &P Onshore L L C was received by me on
   (date)______________________________.


              • I personally served the summons on Anadarko E &P Onshore L L C at
                (place)__________________________ ____________________________________ on
                (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 3 of 99 PageID #: 230

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




NOTE: This court has an internet web site at www.lawd.uscourts.gov where you can obtain our Guide To Practice
and our local rules, including those referenced above. You can also download forms and maps to our courthouses
and, electronically file your pleading. PACER users my also view the docket sheet and imaged pleadings on−line.


LAW101 (Rev. 6/12)
        Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 4 of 99 PageID #: 231

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



                PARISH OF CAMERON                      )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                    BEPCO L P , ET AL                  )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Apache Corp of Delaware




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:    5/3/2016                                                                  /s/ − Tony R. Moore
        Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 5 of 99 PageID #: 232

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Apache Corp of Delaware was received by me on (date)______________________________.


              • I personally served the summons on Apache Corp of Delaware at
                (place)__________________________ ____________________________________ on
                (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 6 of 99 PageID #: 233

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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and our local rules, including those referenced above. You can also download forms and maps to our courthouses
and, electronically file your pleading. PACER users my also view the docket sheet and imaged pleadings on−line.


LAW101 (Rev. 6/12)
        Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 7 of 99 PageID #: 234

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



                PARISH OF CAMERON                      )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                    BEPCO L P , ET AL                  )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Apache Oil Corp




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:    5/3/2016                                                                  /s/ − Tony R. Moore
        Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 8 of 99 PageID #: 235

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Apache Oil Corp was received by me on (date)______________________________.


              • I personally served the summons on Apache Oil Corp at (place)__________________________
                ____________________________________ on (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 9 of 99 PageID #: 236

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 10 of 99 PageID #: 237

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
B P America Production Co




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 11 of 99 PageID #: 238

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for B P America Production Co was received by me on
   (date)______________________________.


              • I personally served the summons on B P America Production Co at
                (place)__________________________ ____________________________________ on
                (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 12 of 99 PageID #: 239

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 13 of 99 PageID #: 240

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Bepco L P




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 14 of 99 PageID #: 241

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Bepco L P was received by me on (date)______________________________.


              • I personally served the summons on Bepco L P at (place)__________________________
                ____________________________________ on (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 15 of 99 PageID #: 242

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 16 of 99 PageID #: 243

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Central Resources Corp




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 17 of 99 PageID #: 244

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Central Resources Corp was received by me on (date)______________________________.


              • I personally served the summons on Central Resources Corp at
                (place)__________________________ ____________________________________ on
                (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 18 of 99 PageID #: 245

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




NOTE: This court has an internet web site at www.lawd.uscourts.gov where you can obtain our Guide To Practice
and our local rules, including those referenced above. You can also download forms and maps to our courthouses
and, electronically file your pleading. PACER users my also view the docket sheet and imaged pleadings on−line.


LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 19 of 99 PageID #: 246

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Chevron Pipeline Co




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 20 of 99 PageID #: 247

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Chevron Pipeline Co was received by me on (date)______________________________.


              • I personally served the summons on Chevron Pipeline Co at (place)__________________________
                ____________________________________ on (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 21 of 99 PageID #: 248

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 22 of 99 PageID #: 249

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Chevron U S A Holdings Inc




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 23 of 99 PageID #: 250

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Chevron U S A Holdings Inc was received by me on
   (date)______________________________.


              • I personally served the summons on Chevron U S A Holdings Inc at
                (place)__________________________ ____________________________________ on
                (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 24 of 99 PageID #: 251

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 25 of 99 PageID #: 252

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Chevron U S A Inc




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 26 of 99 PageID #: 253

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Chevron U S A Inc was received by me on (date)______________________________.


              • I personally served the summons on Chevron U S A Inc at (place)__________________________
                ____________________________________ on (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 27 of 99 PageID #: 254

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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and our local rules, including those referenced above. You can also download forms and maps to our courthouses
and, electronically file your pleading. PACER users my also view the docket sheet and imaged pleadings on−line.


LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 28 of 99 PageID #: 255

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Conoco Phillips Co




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 29 of 99 PageID #: 256

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Conoco Phillips Co was received by me on (date)______________________________.


              • I personally served the summons on Conoco Phillips Co at (place)__________________________
                ____________________________________ on (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 30 of 99 PageID #: 257

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 31 of 99 PageID #: 258

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Davis Petroleum Corp




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 32 of 99 PageID #: 259

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Davis Petroleum Corp was received by me on (date)______________________________.


              • I personally served the summons on Davis Petroleum Corp at (place)__________________________
                ____________________________________ on (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 33 of 99 PageID #: 260

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 34 of 99 PageID #: 261

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Denovo Oil &Gas Inc




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 35 of 99 PageID #: 262

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Denovo Oil &Gas Inc was received by me on (date)______________________________.


              • I personally served the summons on Denovo Oil &Gas Inc at (place)__________________________
                ____________________________________ on (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 36 of 99 PageID #: 263

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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and our local rules, including those referenced above. You can also download forms and maps to our courthouses
and, electronically file your pleading. PACER users my also view the docket sheet and imaged pleadings on−line.


LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 37 of 99 PageID #: 264

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Exchange Oil &Gas Corp




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 38 of 99 PageID #: 265

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Exchange Oil &Gas Corp was received by me on (date)______________________________.


              • I personally served the summons on Exchange Oil &Gas Corp at
                (place)__________________________ ____________________________________ on
                (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 39 of 99 PageID #: 266

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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and our local rules, including those referenced above. You can also download forms and maps to our courthouses
and, electronically file your pleading. PACER users my also view the docket sheet and imaged pleadings on−line.


LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 40 of 99 PageID #: 267

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Exco Resources Inc




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 41 of 99 PageID #: 268

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Exco Resources Inc was received by me on (date)______________________________.


              • I personally served the summons on Exco Resources Inc at (place)__________________________
                ____________________________________ on (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 42 of 99 PageID #: 269

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 43 of 99 PageID #: 270

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Exxon Mobil Corp




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 44 of 99 PageID #: 271

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Exxon Mobil Corp was received by me on (date)______________________________.


              • I personally served the summons on Exxon Mobil Corp at (place)__________________________
                ____________________________________ on (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 45 of 99 PageID #: 272

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 46 of 99 PageID #: 273

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Freeport McMoran Oil &Gas L L C




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 47 of 99 PageID #: 274

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Freeport McMoran Oil &Gas L L C was received by me on
   (date)______________________________.


              • I personally served the summons on Freeport McMoran Oil &Gas L L C at
                (place)__________________________ ____________________________________ on
                (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 48 of 99 PageID #: 275

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 49 of 99 PageID #: 276

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Gas Transportation Corp




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 50 of 99 PageID #: 277

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Gas Transportation Corp was received by me on (date)______________________________.


              • I personally served the summons on Gas Transportation Corp at
                (place)__________________________ ____________________________________ on
                (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 51 of 99 PageID #: 278

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 52 of 99 PageID #: 279

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Graham Royalty Ltd




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 53 of 99 PageID #: 280

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Graham Royalty Ltd was received by me on (date)______________________________.


              • I personally served the summons on Graham Royalty Ltd at (place)__________________________
                ____________________________________ on (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 54 of 99 PageID #: 281

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




NOTE: This court has an internet web site at www.lawd.uscourts.gov where you can obtain our Guide To Practice
and our local rules, including those referenced above. You can also download forms and maps to our courthouses
and, electronically file your pleading. PACER users my also view the docket sheet and imaged pleadings on−line.


LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 55 of 99 PageID #: 282

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
William G Helis Estate




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 56 of 99 PageID #: 283

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for William G Helis Estate was received by me on (date)______________________________.


              • I personally served the summons on William G Helis Estate at
                (place)__________________________ ____________________________________ on
                (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 57 of 99 PageID #: 284

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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and our local rules, including those referenced above. You can also download forms and maps to our courthouses
and, electronically file your pleading. PACER users my also view the docket sheet and imaged pleadings on−line.


LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 58 of 99 PageID #: 285

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
L L O G Exploration &Production Co




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 59 of 99 PageID #: 286

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for L L O G Exploration &Production Co was received by me on
   (date)______________________________.


              • I personally served the summons on L L O G Exploration &Production Co at
                (place)__________________________ ____________________________________ on
                (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 60 of 99 PageID #: 287

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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and, electronically file your pleading. PACER users my also view the docket sheet and imaged pleadings on−line.


LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 61 of 99 PageID #: 288

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Linder Oil Co A P




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 62 of 99 PageID #: 289

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Linder Oil Co A P was received by me on (date)______________________________.


              • I personally served the summons on Linder Oil Co A P at (place)__________________________
                ____________________________________ on (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 63 of 99 PageID #: 290

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 64 of 99 PageID #: 291

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Louisiana Land &Exploration Co L L C




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 65 of 99 PageID #: 292

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Louisiana Land &Exploration Co L L C was received by me on
   (date)______________________________.


              • I personally served the summons on Louisiana Land &Exploration Co L L C at
                (place)__________________________ ____________________________________ on
                (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 66 of 99 PageID #: 293

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 67 of 99 PageID #: 294

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Lyons Petroleum Inc




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 68 of 99 PageID #: 295

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Lyons Petroleum Inc was received by me on (date)______________________________.


              • I personally served the summons on Lyons Petroleum Inc at (place)__________________________
                ____________________________________ on (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 69 of 99 PageID #: 296

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




NOTE: This court has an internet web site at www.lawd.uscourts.gov where you can obtain our Guide To Practice
and our local rules, including those referenced above. You can also download forms and maps to our courthouses
and, electronically file your pleading. PACER users my also view the docket sheet and imaged pleadings on−line.


LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 70 of 99 PageID #: 297

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Marsh Engineering Inc




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 71 of 99 PageID #: 298

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Marsh Engineering Inc was received by me on (date)______________________________.


              • I personally served the summons on Marsh Engineering Inc at
                (place)__________________________ ____________________________________ on
                (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 72 of 99 PageID #: 299

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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and our local rules, including those referenced above. You can also download forms and maps to our courthouses
and, electronically file your pleading. PACER users my also view the docket sheet and imaged pleadings on−line.


LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 73 of 99 PageID #: 300

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Mobil Oil Exploration &Producing Southeast Inc




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 74 of 99 PageID #: 301

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Mobil Oil Exploration &Producing Southeast Inc was received by me on
   (date)______________________________.


              • I personally served the summons on Mobil Oil Exploration &Producing Southeast Inc at
                (place)__________________________ ____________________________________ on
                (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 75 of 99 PageID #: 302

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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and our local rules, including those referenced above. You can also download forms and maps to our courthouses
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LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 76 of 99 PageID #: 303

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Mosaic Global Holdings Inc




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 77 of 99 PageID #: 304

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Mosaic Global Holdings Inc was received by me on
   (date)______________________________.


              • I personally served the summons on Mosaic Global Holdings Inc at
                (place)__________________________ ____________________________________ on
                (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 78 of 99 PageID #: 305

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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and our local rules, including those referenced above. You can also download forms and maps to our courthouses
and, electronically file your pleading. PACER users my also view the docket sheet and imaged pleadings on−line.


LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 79 of 99 PageID #: 306

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Shoreline Southeast L L C




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 80 of 99 PageID #: 307

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Shoreline Southeast L L C was received by me on
   (date)______________________________.


              • I personally served the summons on Shoreline Southeast L L C at
                (place)__________________________ ____________________________________ on
                (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 81 of 99 PageID #: 308

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 82 of 99 PageID #: 309

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Texas Co




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 83 of 99 PageID #: 310

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Texas Co was received by me on (date)______________________________.


              • I personally served the summons on Texas Co at (place)__________________________
                ____________________________________ on (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 84 of 99 PageID #: 311

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 85 of 99 PageID #: 312

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Transco Exploration Co




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 86 of 99 PageID #: 313

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Transco Exploration Co was received by me on (date)______________________________.


              • I personally served the summons on Transco Exploration Co at
                (place)__________________________ ____________________________________ on
                (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 87 of 99 PageID #: 314

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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and our local rules, including those referenced above. You can also download forms and maps to our courthouses
and, electronically file your pleading. PACER users my also view the docket sheet and imaged pleadings on−line.


LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 88 of 99 PageID #: 315

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
White Oak Operating Co L L C




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 89 of 99 PageID #: 316

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for White Oak Operating Co L L C was received by me on
   (date)______________________________.


              • I personally served the summons on White Oak Operating Co L L C at
                (place)__________________________ ____________________________________ on
                (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 90 of 99 PageID #: 317

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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and our local rules, including those referenced above. You can also download forms and maps to our courthouses
and, electronically file your pleading. PACER users my also view the docket sheet and imaged pleadings on−line.


LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 91 of 99 PageID #: 318

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Whiting Petroleum Corp




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 92 of 99 PageID #: 319

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Whiting Petroleum Corp was received by me on (date)______________________________.


              • I personally served the summons on Whiting Petroleum Corp at
                (place)__________________________ ____________________________________ on
                (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 93 of 99 PageID #: 320

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 94 of 99 PageID #: 321

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
X T O Energy Inc




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 95 of 99 PageID #: 322

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for X T O Energy Inc was received by me on (date)______________________________.


              • I personally served the summons on X T O Energy Inc at (place)__________________________
                ____________________________________ on (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 96 of 99 PageID #: 323

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


      • Under LR 83.2.5 pleadings will only be filed when signed by an attorney admitted to practice before this
        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
        on any pleading. The attorney identification number is the same as the number assigned by the Louisiana
        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


      • Your attention is directed to LR 41.3 which governs dismissal of actions for failure to prosecute.


      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


      • Your attention is also directed to LR 16.3.1 which requires the parties to consider the use of Alternative
        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
        to or "involving subject matter that comprises all or a material part of the subject matter or operative facts
        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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LAW101 (Rev. 6/12)
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 97 of 99 PageID #: 324

 AO 440 (Rev. 06/12) Summons in a Civil Action




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION



               PARISH OF CAMERON                       )
                          Plaintiff                    )
                             v.                        ) Civil Action No. 2:16−CV−00536−PM−KK
                                                       ) Judge Patricia Minaldi
                   BEPCO L P , ET AL                   )
                         Defendant                     )

                                        SUMMONS IN A CIVIL ACTION



To:
Xplor Energy Operating Co




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
 you are the United States or a United States agency, or an officer or employee of the United States described in
 Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
 under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
 plaintiff's attorney, whose name and address are:
 Todd J Wimberley
 Talbot Carmouche &Marcello (BR)
 17405 Perkins Rd
 Baton Rouge, LA 70810−3824

       If you fail to do so, judgment by default will be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   5/3/2016                                                                   /s/ − Tony R. Moore
       Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 98 of 99 PageID #: 325

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                      2:16−CV−00536−PM−KK
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Xplor Energy Operating Co was received by me on
   (date)______________________________.


              • I personally served the summons on Xplor Energy Operating Co at
                (place)__________________________ ____________________________________ on
                (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law to
                accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):


       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address


Additional information regarding attemped service, etc:
    Case 2:16-cv-00536-TAD-KK Document 12 Filed 05/03/16 Page 99 of 99 PageID #: 326

                           UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    NOTICE TO PARTIES/COUNSEL

      • In accordance with FRCP 10 and LR 10.1, all pleadings must include the name of the Judge and the
        Magistrate Judge (when one is assigned).


      • A request for a jury demand must be indicated in the caption and included in the pleading. See LR 38.1.
        Indication of a jury demand on the civil cover sheet is not a valid request for a jury trial.


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        Court or a pro se litigant. Each attorney shall place his attorney identification number under his signature
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        Supreme Court or for visiting attorneys appearing pro hac vice, the number assigned by this office. When
        more than one attorney appears for a single party, one attorney shall be designated TA or "trial attorney."


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      • If deadlines cannot be met, extensions may be sought under FRCP 6(b). Voluntary extensions of time
        between counsel are not recognized by the Court. Any extensions must be granted or approved by the
        Court.


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        Dispute Resolution no later than 200 days after the initial filing in this court.


      • Counsel and parties are reminded of their obligation to notify the court of any proceedings directly related
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        of another action" as provided by LR 3.1.

                                                          TONY R. MOORE
                                                          Clerk of Court




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LAW101 (Rev. 6/12)
